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                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA



ENPLAS DISPLAY DEVICE CORP ET AL,
                                                              No. C 13-05038 NC
                Plaintiff (s),
         v.                                                   ORDER SETTING INITIAL CASE
                                                              MANAGEMENT CONFERENCE AND
SEOUL SEMICONDUCTOR LTD,                                      ADR DEADLINES
                Defendant(s).



         IT IS HEREBY ORDERED that this action is assigned to the Honorable Nathanael Cousins.
 When serving the complaint or notice of removal, the plaintiff or removing defendant must serve on all
 other parties a copy of this order , the Notice of Assignment of Case to a United States
 Magistrate Judge for Trial, and all other documents specified in Civil Local Rule 4-2. Counsel must
 comply with the case schedule listed below unless the Court otherwise orders.

          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute Resolution
 (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients shall familiarize
 themselves with that rule and with the material entitled ADispute Resolution Procedures in the Northern
 District of California@ on the Court ADR Internet site at www.adr.cand.uscourts.gov. A limited number
 of printed copies are available from the Clerk=s Office for parties in cases not subject to the court=s
 Electronic Case Filing program (ECF).

         IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties
 the brochure entitled AConsenting To A Magistrate Judge=s Jurisdiction In The Northern
 District Of California,@ additional copies of which can be downloaded from the following
 Internet site: http://www.cand.uscourts.gov.

                     CASE SCHEDULE -ADR MULTI-OPTION PROGRAM

  Date               Event                                                          Governing Rule

  10/29/2013         Complaint filed

  1/8/2014           *Last day to:                                                  FRCivP_26(f) & ADR
                     $ meet and confer re: initial disclosures, early settlement,   L.R.3-5
                        ADR process selection, and discovery plan

                     $ file ADR Certification signed by Parties and Counsel         Civil_L.R. 16-8 (b) &
                       (form available at http://www.cand.uscourts.gov)             ADR L.R. 3-5(b)

                     $ file either Stipulation to ADR Process or Notice of          Civil_L.R. 16-8 (c) &
                       Need for ADR Phone Conference (form available at             ADR L.R. 3-5(b) &
                       http://www.cand.uscourts.gov)                                (c)

  1/22/2014          Last day to file Rule 26(f) Report, complete initial           FRCivP 26(a) (1)
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                  disclosures or state objection in Rule 26(f) Report and file   Civil _L.R . 16-9
                  Case Management Statement per attached Standing Order
                  re Contents of Joint Case Management Statement (also
                  available at http://www.cand.uscourts.gov)

 1/29/2014        INITIAL CASE MANAGEMENT CONFERENCE                             Civil _L.R. 16-10
                  (CMC) in Courtroom A, 15th Floor at 10:00 AM

   *If the Initial Case Management Conference is continued, the other deadlines are continued
accordingly.
